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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                         PLAINTIFF

VS.                      CASE NO. 13-50079-002

FLOR RAMIREZ
a/k/a Flor Ordaz                                                 DEFENDANT

             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

      Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3),

Local Rule 72.1 ¶ XII, and General Order No. 40, this matter was

referred to the undersigned for the purposes of conducting a plea

hearing pursuant to Rule 11 of the Federal Rules of Criminal

Procedure.    Such a hearing was conducted on October 22, 2013, and,

pursuant to a written plea agreement, the Defendant, Flor Ramirez,

entered a plea of guilty to Count Four of the Indictment, charging

her with the distribution of methamphetamine, in violation of 21

U.S.C. § 841(a)(1).    After conducting the hearing in the form and

manner prescribed by Rule 11, the undersigned finds:

      1.     The Defendant, after consultation with her counsel, has

knowingly and voluntarily consented, both in writing and on the

record at the hearing, to the entry of her guilty plea before the

undersigned, with the plea being subject to final approval by

United States District Judge Jimm Larry Hendren.

      2.     The Defendant and the Government have entered into a

written plea agreement which has been disclosed in open court
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pursuant to Rule 11(c)(2), and the undersigned has directed that

the plea agreement be filed.

     3.     The Defendant is fully competent and capable of entering

an informed plea; the Defendant is aware of the nature of the

charges, the applicable maximum penalties, and the consequences of

the plea; the Defendant is fully satisfied with her counsel and has

had sufficient time to consult with him; and the plea of guilty is

a knowing and voluntary plea supported by an independent basis in

fact containing each of the essential elements of the offense.

     4.     The   Defendant    understands     her    constitutional       and

statutory rights and wishes to waive these rights.

     5.     The parties were informed, both in writing and on the

record at the hearing, of their right to file written objections

within    fourteen   (14)   days   after   receipt   of   this   Report    and

Recommendation.      To expedite acceptance of the guilty plea, the

parties waived, both on the record and in writing, their right to

file objections.

     Based on the foregoing, the undersigned recommends that the

guilty plea be accepted and that the written plea agreement be

tentatively approved, subject to final approval at sentencing.

     DATED this 22nd day of October, 2013.



                                           /s/ Erin L. Setser
                                           HON. ERIN L. SETSER
                                           UNITED STATES MAGISTRATE JUDGE
